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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
              v.                                  )   17-cr-64-DWF-KMM
                                                  )
EDWARD S. ADAMS,                                  )
                                                  )
                            Defendant.            )
                                                  )
                                                  )


            DEFENDANT’S OPPOSITION TO GOVERNMENT’S
         MOTION CONTESTING THE APPLICATION OF PRIVILEGE

       The government does not challenge most of Mr. Adams’s assertions of privilege,

and the challenges that it has raised are without merit. As it relates to Mr. Adams’s

pending motions (ECF 141 and 147), the government only challenges—for a third time—

the validity of Mr. Adams’s assertions of privilege relating to seven communications with

Murry LLC. It does not raise challenges as to any of the other in camera exhibits.

       This Court previously considered the seven Murry LLC documents in February

2018, and ruled that “Mr. Adams has established the privileged nature of the

communications at issue.” ECF 117 at 13. The District Court rejected the government’s

objections to that ruling, confirming “that Defendant has established the privileged nature

of communications with accountants that his tax attorney retained for the purpose of

rendering legal advice to Defendant.” ECF 139 at 2. The government’s last-ditch effort

to obtain reconsideration now, in order to excuse its unreasonable search conduct and its




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unreasonable use of the Murry documents to build its tax case, is procedurally improper.

And its new, belated argument that the crime-fraud exception should apply is

unsupported by the law and the facts.

       The government’s remaining privilege challenges—relating to certain

communications with Mr. Monahan, Mr. Reilly, Mr. Spitzer, and Nelson Mullins—are

not challenges that relate to the relief that Mr. Adams is seeking in connection with his

motions. However, a review of these documents demonstrates that they are privileged.

I.     The Identified Communications with Murry LLC Are Privileged.

       The seven communications between Mr. Adams and Murry LLC that the

government challenges are protected by the attorney-client privilege.1 The government’s

improper efforts to seek reconsideration, at still greater expense to Mr. Adams, of the

Court’s prior decisions establishing that these communications are privileged must be

rejected. The seven communications are ones that were made in confidence and for the

purpose of obtaining legal advice, and are ones over which Mr. Adams (and Mr. Brever)

have “clearly continually invoked the protection of these privileges.” ECF 117. And the




1
  Mr. Adams addresses herein all of the government’s challenges as to these documents,
which are raised across the government’s three briefs. See Suppression Opp. 64-82,
Dismissal Opp. 16, 21, 33-35, and Br. 2-3. The government now claims that Mr.
Adams’s privilege log “is inadequate to demonstrate that the communications with the
Murry firm are privileged,” but this complaint was not raised during the meet and confer
process. See Gov. Ex. J. Moreover, Mr. Adams set forth his justification for the
application of the attorney-client privilege to these communications in his prior briefing,
ECF 90 & 110, and in the declarations of Thomas Brever, ECF 93 & 112 (sealed
versions: ECF 94, 97, 113 & 114). Mr. Adams incorporates those submissions by
reference herein.


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government’s new argument about the application of the crime-fraud exception—raised,

improperly, after the government already viewed and used the communications with

Murry LLC—fails because the government has not met the high bar to show that the

legal advice at issue was obtained in furtherance of any crime or fraud.2

       A.     The Government Is Improperly Seeking Reconsideration of the
              Court’s Prior Decisions

       We have been here before. Faced with the potential consequences that may flow

from the government’s intentional invasion of Mr. Adams’s protected communications

with Murry LLC, the government is improperly rearguing the issue of whether they are

privileged. This contravenes the two-phase briefing schedule set by the Court in

February. ECF 88. There is no reason to disturb the Court’s prior ruling, ECF 117 (the

“R&R”), which has now been adopted by the District Court, ECF 139.

       The government could have, but did not, file a motion for reconsideration of the

two prior rulings on the Murry privilege issue,3 and it did not seek an interlocutory appeal


2
  The government notes that “[t]he remainder of the communications with the Murry firm
either have not been claimed to be privileged or were excluded as a result of the second
round of privilege filters or the final filter in April 2017.” Suppression Opp. 66. What
the government overlooks is that there may be additional privileged Murry
communications among the 37,442 items that the government “seized” but never
accessed. As contemplated by this Court’s orders, see ECF 88, Mr. Adams has not
engaged in a document-by-document privilege review of those documents that the
government did not access in Relativity. Now that the government has stated that it does
not object to suppressing the documents that it seized but never viewed, Suppression
Opp. 86, it should be unnecessary to review the 37,442 never-viewed items for privilege.
3
  Of course, motions for reconsideration are disfavored, and this Court’s Local Rules
require a party seeking reconsideration to first file a letter seeking permission to file, and
for permission to be granted the letter must demonstrate that there are “compelling
circumstances” justifying reconsideration. United States v. Tate, No. CIV. 11-3337 MJD,

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of the District Court’s order. Having failed to seek reconsideration, the law of the case

doctrine prevents the government from “relitigat[ing] settled issues in a case, thus

protecting the settled expectations of parties . . . and promoting judicial efficiency.”

Little Earth of the United Tribes, Inc. v. U.S. Dep’t of Hous. & Urban Dev., 807 F.2d

1433, 1441 (8th Cir. 1986). The Court should “reconsider a previously decided issue

only if substantially different evidence is subsequently introduced or the decision is

clearly erroneous and works manifest injustice.” Id. None of these grounds for

reconsideration exists.

       The government fails to identify any clear error of law, and misstates the record in

its efforts to do so. Without citation to the Court’s R&R, the government asserts that the

R&R “held that [the] record demonstrated that preparing tax returns was not the sole

purpose of the communications with the Murry firm,” and that “this is an incorrect

statement of the applicable test.” Suppression Opp. 67.4 First, this is not at all what the



2012 WL 2885001, at *1 (D. Minn. July 13, 2012) (citing LR 7.1(h) (now LR 7.1(j)).
And “[m]otions for reconsideration serve a limited function: to correct manifest errors of
law or fact or to present newly discovered evidence. . . . Nor should a motion for
reconsideration serve as the occasion to tender new legal theories for the first time.”
Hagerman v. Yukon Energy Corp., 839 F.2d 407, 414 (8th Cir.1988) (citation omitted);
Julianello v. K-V Pharm. Co., 791 F.3d 915, 923 (8th Cir. 2015) (“A motion for
reconsideration is not a vehicle to identify facts or legal arguments that could have been,
but were not, raised at the time the relevant motion was pending.”).
4
  The government advanced its position about the “sole” purpose of the engagement in a
failed effort to pierce Mr. Adams’s privilege in all of his communications with Mr.
Brever, in addition to Murry. See ECF 110 at 16-27 (“The government spends the
majority of its response attempting to shoehorn Mr. Adams’s engagement of Foster
Brever Wehrly (and Mr. Brever’s engagement of Murry LLC) into a common and simple
fact pattern in which the attorney-client privilege does not apply: the retention of an
attorney or accountant solely to prepare tax returns.”); see also ECF 109 at 18-19; ECF

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client reasonably related to” the purpose of facilitating an attorney’s legal advice “ought

fall within the privilege.” United States v. Kovel, 296 F.2d 918, 922 (2d Cir. 1961). As

discussed below, Mr. Brever’s declarations confirm that the purpose of each of the

documents at issue was to facilitate his provision of legal advice, and not merely to

provide information to include on amended returns.6

       B.     Mr. Adams’s Assertion of Privilege is Valid and Not Waived

              1.     Mr. Adams and Mr. Brever have continuously and consistently
                     asserted the application of the attorney-client privilege

       The government attempts to paint a picture of Mr. Adams’s assertions of privilege

as “inconsistent,” but the purported “inconsistencies” do not exist; the facts are explained

in Mr. Brever’s declarations. In all material ways, both Mr. Adams and Mr. Brever have

consistently asserted that the attorney-client privilege applies to the seven

communications with Murry LLC.7



6
  The government attempts to reargue that Mr. Brever’s and Mr. Murry’s October 27,
2014 emails are conclusive evidence that Mr. Brever had completed rendering his legal
advice as of that date, and that after that date their purpose was to assist Mr. Adams with
the preparation of amended returns. Suppression Opp. 68-70. This argument, and these
documents, were already considered and rejected in the prior decisions. See ECF 109 at
22-23 & ECF 109-8; ECF 119 at 3 & ECF 119-1. The Court also already considered
what the government identifies as the “salient questions:” “whether the Murry firm was
retained before the decision was made to file amended returns and whether the Murry
firm’s services were limited to tax-preparation services or if they also included services
that facilitated Mr. Brever’s provision of legal services.” Suppression Opp. 67 n.21; see
ECF 109 at 22; ECF 119 at 2; ECF 112 at ¶ 3.
7
 Mr. Adams has submitted as Exhibit 1 a chart demonstrating that the seven documents,
Rows 101-107 of his privilege log (Dismissal Br. Ex. 1), were submitted in camera to the
Court in connection with his prior motion (ECF 91-20 Tabs 1-7 & ECF 95-96), and also
were recently submitted to the Court in camera as Exhibits R, O, M, N, P, S, and T.


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       First, regarding in camera Exhibit R, the email from Mr. Adams to Mr. Murry

attaching the “ESA Tax Summary for P. Murry” spreadsheet, the government complains

that Mr. Brever disclosed the cover email, whereas Mr. Adams has included both the

cover email and the substantive attachment in his privilege log and in camera submission.

Suppression Opp. 70-71. This is not news. Mr. Brever previously stated in his

declaration that he produced to the government certain “transmittal correspondence with

substantive attachments removed.” Brever Decl. ¶ 14 (ECF 93). But given the

significance of the substantive attachment, Mr. Adams has kept the spreadsheet together

with its transmittal email, because the transmittal email reflects the context of the

transmission of the spreadsheet—that it was sent to Murry by Mr. Adams on October 28,

2014. The fact, addressed in Mr. Adams’s briefs, that AUSA Maria viewed both the

email and attachment is relevant to show that AUSA Maria knew what the spreadsheet

was, and who its intended recipient was, when he repeatedly reviewed it. See Dismissal

Br. Ex. 4 at 11 (Excerpt of Relativity Log for in camera Ex. R).8

       Second, the government notes that Mr. Adams’s privilege log does not list the

attachments for in camera Exhibits S and T, although they were submitted in connection

with Mr. Adams’s Motion Asserting Certain Privileges (ECF 91-20 Tabs 6 &7). The

only reason that Mr. Adams did not log the attachments to these emails in his subsequent

Revised Privilege Log of Documents Viewed by Government in “For Review” Folder,



8
 See also Suppression Opp. 62 (raising same complaint about “ESA Tax Questions”
cover email (in camera Ex. K)), which Mr. Adams included for the same reasons.


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ECF 142 Ex. 1, is because there is no Relativity record reflecting that the attachments

were viewed by the government, and this log was limited to “viewed” documents.9

       Last, the government argues that the cover emails that are Exhibits S and T were

disclosed by Mr. Brever, and that it believes that the three attachments were also

contained among Mr. Brever’s production, although they were not produced together

with the transmittal email. See Suppression Opp. 71-72. Mr. Brever addressed his

production of certain standalone files in his Supplemental Declaration, including those

relating to in camera Exhibits S and T. ECF 112 ¶ 7.




                                          In any event, the relief sought by Mr. Adams

for the government’s review and use of Mr. Adams’s privileged communications with

Murry LLC is not primarily based on in camera Exhibits S and T, and is instead largely

based on the review and use of the “ESA Tax Summary for P. Murry” spreadsheet (in



9
 Mr. Adams did not submit the attachments to the Court with in camera Exhibits S and T
for the same reason—the Relativity log did not reflect that the attachments were viewed.


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camera Ex. R), and two October 29, 2014 email chains (in camera Exs. M and N). See

Dismissal Br. 13-16. In camera Exhibits M, N, and R were all viewed multiple times by

AUSA Maria before he sent them to Agent Belich, see Dismissal Br. Ex. 4 at 7-8, 11& in

camera Ex. Q, after which point these documents were discussed in the IRS Special

Agent Report (“SAR”) and attached thereto in connection with the government’s

approval of the tax charges. See Suppression Reply 11-14 & in camera Ex. V.10

              2.     The Seven Murry LLC Communications Are Privileged

       The seven documents presently at issue were among those previously submitted to

the court as “samples” and were part of the record that supported the Court’s conclusion

that “the communications between Mr. Adams, Mr. Brever, and Murry & Associates

accountants were made in confidence and for the purpose of obtaining legal advice.”

ECF 117 at 13-14. The Court’s R&R referenced the “samples” provided by Mr. Adams,

and concluded:

       “[o]n the record before the Court . . . Mr. Adams has established the
       privileged nature of the communications at issue. The declarations and their
       related exhibits demonstrate that Mr. Adams retained counsel before any
       decision was made to file amended tax returns and that counsel provided
       advice outside the narrow, accounting-service scope of preparing and filing
       amended returns.”

Id. (emphasis added). Mr. Adams summarizes below the basis for his assertions of

privilege over these seven documents.



10
  As it did in the prior briefing on the Murry privilege issue, the government tries to use
the current briefing as a means to compel further production of files from Murry. See
Suppression Opp. 72. This Court should (again) reject this effort, as without reasonable
basis and procedurally improper. See ECF 110 at 17 & n.11.


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       Communications between a client and an accountant may be protected under the

attorney-client privilege if the communications are “made in confidence for the purpose

of obtaining legal advice from a lawyer.” Kovel, 296 F.2d at 922. The Eighth Circuit in

Cote recognized that the attorney-client privilege attached to such accounting-related

documents where the “accountant’s aid to the lawyer preceded the advice and was an

integral part of it,” and stated that “[a] more definitive test is whether the accountant’s

services are a necessary aid to the rendering of effective legal services to the client.” 456

F.2d at 144-45.

       In his two declarations, Mr. Brever explained the nature of his legal engagement

and his need for the assistance of Murry LLC to facilitate his legal advice to Mr. Adams.

The legal advice that Mr. Brever provided to Mr. Adams “




                                      Murry LLC’s advice and assistance assessing these

technical accounting issues and deciphering relevant factual materials was essential to

informing my legal advice in these areas.” Brever Decl. ¶ 6.




                                              Brever Suppl. Decl. ¶¶ 3.


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Id. at ¶ 7.

        The record thus establishes that the seven communications were “a necessary aid

to the rendering of effective legal services to the client” and “preceded” Mr. Brever’s

“advice and [were] an integral part of it.” Cote, 456 F.2d at 144-45.




                                              . Brever Decl. ¶ 2; Supp. Brever Decl. ¶¶ 2-

3, 5. The seven documents—and particularly the “ESA Tax Summary for P. Murry” (in

camera Ex. R) and the October 29 emails (in camera Ex. M, N, and O)—embody the

classic type of exchange of information Kovel found to be protected by the attorney-client

privilege. See Kovel, 296 F.2d at 922. Because this is not a case in which “the advice to

file the returns was first given by [Mr. Brever] and thereafter the accountant was

employed simply to make the correct mechanical calculations,” Cote, 456 F.2d at 144,

these communications are privileged.

              3.     Mr. Adams Has Not Waived the Attorney-Client Privilege by
                     Filing Amended Returns

        The government again argues that the attorney-client privilege over the documents

at issue has been waived as a result of Mr. Adams’s filing of amended tax returns for

2008, 2009, and 2010. Suppression Opp. 73-76. It argues that “[t]he simple fact that Mr.

Adams filed amended returns necessarily means that the raw factual information had to

have been used to prepare and file those returns.” Id. at 76. That is not the law. Mr.

Adams did not waive the attorney-client privilege over these documents as a result of his



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filing of amended returns, because these documents contain more than just data

underlying the amended returns. They contain unpublished information, communicated

to obtain legal advice, which was not intended for disclosure.

       When considering the question of waiver in the Kovel context, the Eighth Circuit

distinguishes between the tax return’s contents and “detail underlying the reported data”

on the one hand, and “detail of unpublished expressions which are not part of the data

revealed on the tax returns” on the other. See Cote, 456 F.2d at 144, 145 n.4. While the

court in Cote held that the privilege attaching to the accountant’s workpapers was waived

where the accountant had transcribed that same information onto the filed amended

returns, the court warned against applying this waiver-by-filing rule “[t]oo broad[ly],” as

it “might tend to destroy the salutary purposes of the” attorney-client privilege. See 456

F.2d at 145 n.4 (citing United States v. Schlegel, 313 F. Supp. 177 (D. Neb. 1970)); see

also ECF 110 at 30 (collecting cases adopting the Schlegel rule). In Schlegel, the court

considered and rejected the government’s argument—akin to the government’s argument

here—that all information relayed to an attorney in connection with the preparation of

income tax returns must therefore be intended to be transmitted to the government. 313

F. Supp. at 179. Instead, the court held that “a more realistic rule would be that the client

intends that only as much of the information will be conveyed to the government as the

attorney concludes should be, and ultimately is, sent to the government.” Id.

       As recognized by the Court in the R&R, Mr. Brever’s declarations confirm that,

consistent with Cote, he produced to the government “data and information ultimately

included in filed tax returns provided to the IRS, as well as computational records


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underlying the figures reported in tax returns.” See Brever Supp. Decl. ¶ 6. Mr. Brever

produced standalone copies of files that he believed to contain data and information that

were included in Mr. Adams’s filed amended returns, id. ¶ 7. These items are contained

in Mr. Brever’s document production in response to the Murry LLC grand jury subpoena.

See Gov. Ex. 43. Mr. Brever did not produce documents, including those presently at

issue, that contain the type of “unpublished expressions” of information to counsel that

the Eighth Circuit and many other courts have recognized remain privileged. See Cote,

456 F.2d at 144-45; Schlegel, 313 F. Supp. at 179.

       A review of the documents at issue reveals that they are not merely “detail

underlying the reported data” that eventually was included in Mr. Adams’s amended tax

returns                                                    ; instead, they are

communications from client to counsel (or counsel’s agent) that contain the type of

“unpublished expressions” of information that remain privileged. See Cote, 456 F.2d at

144-45. The “ESA Tax Summary for P. Murry” (in camera Ex. R) contains confidential,

unpublished expressions of information to Murry LLC and Mr. Brever



      . Brever Suppl. Decl. ¶ 4.




                                   See in camera Ex. R.

                                                     The information reflected on this


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spreadsheet is not data revealed on the tax returns or the detail underlying the reported

data, see Gov. Exs. 31-33 (Mr. Adams’s 2014 amended tax returns for 2008, 2009, and

2010)—instead, it is unpublished information, sent for the purpose of obtaining legal

advice, which was not intended for disclosure.11

       Similarly, the October 29 and November 4 emails (in camera Exs. M, N, O, P)

contain unpublished information that Mr. Adams provided to obtain legal advice. These

emails reflect Murry LLC




            Thus, the attorney-client privilege over these documents has not been waived.

       Last, the complete email families of in camera Exhibits S and T are unpublished

expressions of Mr. Adams’s request for legal advice from Mr. Brever. See ECF 112 ¶ 7.

       C.     The Crime-Fraud Exception Does Not Apply

       The government’s only new argument to excuse its intrusion into Mr. Adams’s

privileged communications with Mr. Brever and Murry LLC is that the crime-fraud


11
  The fact that Mr. Adams’s amended tax returns included a disclosure statement, see
Suppression Opp. 75, does not waive Mr. Adams’s attorney-client privilege over other
communications sent to obtain legal advice. See Schlegel, 313 F. Supp. at 179.


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exception applies. This argument is a last-ditch effort to avoid repercussions for the

prosecution team’s viewing and using Mr. Adams’s privileged communications to build

its tax case. Although the government identified no crime or fraud in the returns that Mr.

Adams filed in 2014, it is now up against the wall as a result of its privilege violations

and is attacking Mr. Adams’s 2014 tax filing as a means to avoid responsibility for its

own conduct. The timing of this argument is suspect (after the privilege violations), and

it is inconsistent with the government’s prior positions. Fundamentally, the crime-fraud

argument fails because the record does not reflect that Mr. Adams was using the services

of Mr. Brever or Murry LLC in furtherance of any crime or fraud.

              1.     The Government’s Last Resort to the Crime-Fraud Exception—
                     After it Used the Documents—is Procedurally Improper

       Although the attorney-client privilege “does not extend to communications made

for the purpose of getting advice for the commission of a fraud or crime,” United States v.

Zolin, 491 U.S. 554, 563 (1989), claiming this exception does not permit the government

to, of its own accord, review and use documents subject to an assertion of privilege—as it

did here.

       The proper procedure for raising the crime-fraud exception requires the party

challenging the privilege to first make a “showing of a factual basis adequate to support a

good faith belief by a reasonable person that in camera review of the materials may

reveal evidence to establish the claim that the crime-fraud exception applies.” Zolin, 491

U.S. at 572. “A moving party does not satisfy this threshold burden merely by alleging

that a fraud occurred and asserting that disclosure of any privileged communications may



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help prove the fraud.” In re BankAmerica Corp. Sec. Litig., 270 F.3d 639, 642 (8th Cir.

2001) (also holding that “there must be a specific showing that a particular document or

communication was made in furtherance of the client’s alleged crime or fraud”). In

camera review is required before a court can order a document to be disclosed under the

crime-fraud exception. Id. at 644. The party opposing the application of the crime-fraud

exception may present countervailing evidence to undermine the government’s proffered

prima facie showing. In re Green Grand Jury Proceedings, 492 F.3d 976, 984 (8th Cir.

2007). If the government satisfies its threshold burden to permit in camera review, then a

higher standard applies to the court’s determination of whether the crime-fraud exception

applies. Zolin, 491 U.S. at 572.12

       Here, the government did none of the above. It issued a subpoena to Murry LLC

in November 2016. In December 2016, it met and conferred with Mr. Brever about his

assertions, on behalf of Mr. Adams, of the attorney-client privilege over certain



12
  The government misstates the applicable legal standard by relying on older law without
addressing later Supreme Court developments. See Suppression Opp. 83-84. It argues
that “‘[t]o overcome a claim of privilege using the “crime-fraud” exception, the
government must merely make a prima facie showing that the legal advice has been
obtained in furtherance of an illegal or fraudulent activity.’” Id. (quoting United States v.
Horvath, 731 F.2d 557, 562 (8th Cir. 1984)). That is not the standard. The Supreme
Court in Zolin held that “a lesser evidentiary showing is needed to trigger in camera
review than is required ultimately to overcome the privilege.” 491 U.S. at 572.
Subsequent Eighth Circuit cases reflect that the showing referred to in Horvath is the
showing that must be made “before the crime-fraud exception may be applied.” In re
Green Grand Jury Proceedings, 492 F.3d 976, 982-83 (8th Cir. 2007) (holding that
“requir[ing] that crime or fraud be ‘established’” or “requir[ing] that there be probable
cause to believe that a crime or fraud had been perpetrated” to “meet the higher
threshold” required by Zolin).


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communications with Murry LLC. Mr. Brever and AUSA Kokkinen agreed to resolve

any disputes over the application of the privilege to particular documents through an in

camera submission of disputed documents to the district court, if necessary, but this

process was never used. Brever Decl. ¶ 12. Instead, the government, which had copies

of Mr. Adams’s communications with Murry LLC as a result of the Yahoo! warrant,

simply continued to view and use any communications between Mr. Adams and Murry

LLC without restriction. It never brought the privilege dispute to the Court, and it never

asserted the crime-fraud exception. It was not until Mr. Adams filed his motion to

suppress and the Court ordered the government to disclose information about its process

that this issue saw the light of day. And it is only now—six months after the parties first

briefed the issue of the validity of the Murry privilege in phase one—that the government

is raising the crime-fraud theory.

       “The crime-fraud exception is not a tool to justify disclosure after the fact.”

Pallon v. Roggio, 2006 WL 2466854, at *5 (D. N.J. Aug. 24, 2006). In Pallon, the court

rejected the plaintiffs’ effort to assert the crime-fraud exception after the confidential

information had already been improperly revealed to third parties. Id. It concluded

“[s]ince Plaintiffs did not raise the crime-fraud exception before revealing the

information or provide the necessary proof for this Court to determine the applicability of

the exception, it does not apply.” Id. The Eighth Circuit has also recognized the

importance of following the proper procedure (requiring an in camera review to

determine whether crime-fraud exception applies) prior to the disclosure of privileged

communications. See In Re General Motors Corp., 153 F.3d 714, 716 (8th Cir. 1998).


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       The government’s post hoc invocation of the crime-fraud exception is improper,

should not be condoned, and does not excuse its unreasonable review and use of Mr.

Adams’s privileged communications.

              2.     The Crime-Fraud Theory is At Odds with the Indictment

       The government’s new crime-fraud theory is surprising because it is inconsistent

with the premise of the indictment. These inconsistencies reveal that the government is

now grasping at straws to find some way to undermine the attorney-client privilege

protection that applies to Mr. Adams’s communications with Murry LLC.

       The indictment alleges that Mr. Adams “misappropriated and embezzled millions

of dollars for his personal use and benefit” of investor funds from certain bank accounts,

and to hide this “theft,” he “lulled” investors into participating in the Apollo/Scio asset

purchase transaction. Superseding Indictment ¶ 1. Now, the government appears to

concede that “the proceeds deposited into the Venture Bank accounts were the result of

the sale of unexercised warrants in 2006-2010” by Mr. Adams. Suppression Opp. 79. It

is hard to conceive of how Mr. Adams’s sale of his own Apollo warrants/stock

constitutes theft or embezzlement—but apparently the government is willing to concede

its embezzlement theory in order to attempt to establish a basis for the crime-fraud

exception.

       The government’s indicted tax fraud case is similarly premised on Mr. Adams’s

alleged embezzlement of the investor monies, and is inconsistent with the government’s

new crime-fraud theory. The indictment alleges that Mr. Adams committed tax fraud by

failing to pay income tax on the money that he supposedly misappropriated. Superseding


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Indictment ¶¶ 64-65. Despite the fact that the government analyzed Mr. Adams’s 2014

amended returns when it submitted the IRS SAR see in camera Ex. V at 16, the SAR

does not discuss or recommend any charges relating to any crime or fraud as to these

amended returns. Instead, the theory set forth in the SAR is that Mr. Adams’s amended

returns submitted in 2011 “failed to report over $1.5 million of payments [Mr. Adams]

made to himself from the funds raised from investors,” which allegedly should have been

reported as “Other Income” on his tax returns, id. at 4-5, 11.

       Tax cases are often complicated, and tax charges require the approval of the DOJ’s

Tax Division.13 The SAR presents the theory that was reviewed and approved by the Tax

Division before the criminal tax charges could be filed against Mr. Adams. The

government’s new theory has not (presumably) received the same level of review by the

subject-matter experts at the Tax Division. Moreover, information about Mr. Adams’s

2014 amended returns was before the Tax Division when it considered the SAR (as these

returns were attached to the SAR)—and did not result in the approval of any additional

tax charges.

       The government cannot have it both ways—either Mr. Adams embezzled funds, or

he sold investors warrants and/or stock from exercising his warrants. The inconsistency

in the government’s new position reflects its lack of merit.



13
  See DOJ Criminal Tax Manual at 1.04[2][b][2] (describing typical process in
complicated tax cases, which involves a trial attorney preparing a Prosecution
Memorandum analyzing the proposed charges, methods of proof, evidentiary issues, and
policy concerns during a 45-day period, followed by a review by the Assistant Chief).


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              3.     The Evidence Reflects that Mr. Adams did not Consult Mr.
                     Brever (or Murry LLC) in Furtherance of Any Crime or Fraud

       The government fails to make the threshold showing that would justify the Court’s

in camera review to determine the applicability of the crime-fraud exception. Moreover

(and given the case’s unusual posture), the documents already in camera do not satisfy

the higher showing that is required to compel the production of otherwise privileged

documents pursuant to the crime-fraud exception. There is simply no indication in the

record that Mr. Adams consulted Mr. Brever or Murry LLC to further a crime or fraud.

       The government’s (new) theory is that the disclosure statement attached to Mr.

Adams’s amended returns filed in 2014 “indicates that Mr. Adams gave false information

to the Murry firm so that he could fraudulently take advantage of a lower tax rate that

would be applied to only 50% of the proceeds of the warrant sales that occurred in 2008-

2010.” Suppression Opp. 81. The government contends that documents in its possession

reflect that the income derived by Mr. Adams in 2008, 2009, and 2010 related to warrant

transactions that took place in those years, and not in 2003 as suggested by Mr. Adams’s

disclosure statement. Id. 76-81. The government therefore argues that, according to 26

U.S.C. § 1223(5), Mr. Adams’s income from these transactions should have been taxed

as ordinary income subject to a higher marginal rate than the rate that was applied (long

term capital gains with partial exclusion under 26 U.S.C. § 1202). The government both

ignores relevant documents in its possession and oversimplifies the tax laws.

       First, although it did not mention them in its briefing, the government has

documents reflecting Mr. Adams’s exercise of warrants in 2003, and even discussed these



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documents in the IRS SAR—which of course is completely consistent with Mr. Adams’s

disclosure statement. See in camera Ex. V at 3-4 (noting that Mr. Adams had “produced

records indicating that he was issued millions of warrants,” and that one of the

subscription forms he had produced was dated December 21, 2003); Ex. 2 at 1 (Dec. 21,

2003 subscription form); see also id. at 2-3 (additional 2003 subscription forms).

       Second, documents Mr. Brever produced pursuant to the Murry LLC grand jury

subpoena, which the government attached to its briefing, reflect that Messrs. Murry and

Brever were provided exactly the kind of information that the government now asserts

Mr. Adams withheld from them.14 For example, Mr. Brever produced a letter from Mr.

Linares to Mr. Adams, dated June 17, 2009, describing the ADR transaction. It states

“certain existing holders of warrants in Apollo Diamond, Inc. . . . will be effectively

assigning our rights to warrants to prospective shareholders via ADR who will direct

payment to ADR for their purchase. Apollo will then cancel our rights to such warrants

(on a cashless exercise basis).” Gov. Ex. 43 at ECL-00031260. Mr. Brever also

produced Mr. Adams’s employment agreements reflecting that his compensation package

included “cashless exercise” options or warrants. Id. at e.g., ECL-00031401.

       Third, the record that is already before the Court in camera contradicts the

government’s crime-fraud theory


14
  The government also gets the facts wrong in its discussion of “a transaction with
investor B.E.” See Suppression Opp. 77. “B.E.[’s]” $277,500 payment was not made
“several months later” into the RL account, it was made 13 days later into the DL
account. See Ex. 3 (record of deposit). It is unclear how this 2007 transaction could
relate to Mr. Adams’s 2008, 2009, and 2010 taxes.


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                                       . Mr. Brever has explained in his declarations

that his legal engagement

                                               Murry Decl. ¶ 6. The in camera

documents reflect




                                                                   the subscription

forms submitted by the government: “the holder of the within Warrant, hereby


                                          23
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irrevocably elects to exercise the purchase right represented by such Warrant for, and to

purchase thereunder . . . shares of Common Stock . . . of Apollo Diamond Inc.” Gov. Ex.

34; see Suppression Opp. 77-78. Mr. Brever has confirmed that these in camera

documents provided information to inform his legal guidance. Brever Suppl. Decl. ¶ 4.

       Fourth, the tax treatment of cashless exercise warrants is a highly complex issue,

and certainly not as straightforward as suggested by the government, as it is unclear

whether 26 U.S.C. § 1223(5) (calculating the holding period from the date of exercise) or

26 U.S.C. § 1223(1) (calculating the holding period from the date of the warrant

issuance) applies. Moreover, the IRS uses the first-in, first-out (“FIFO”) method to

determine the basis and holding period of stock sold unless the taxpayer adequately

identifies the lot from which the stock is sold. 26 CFR § 1.1012-1(c)(1)(i).

       Against this backdrop, with the assistance of Mr. Brever and Murry LLC, Mr.

Adams submitted second amended tax returns in 2014 for tax years 2008, 2009, and

2010. Even if the government now disagrees with Mr. Adams’s (and his advisors’)

application of the long term capital gains rate and § 1202 exclusion, and even if the

government’s view of the tax code is ever accepted, “the crime-fraud exception does not

apply when a [party] seeks legal advice concerning its . . . obligations and then commits

an unintentional . . . violation.” In re BankAmerica Corp. Sec. Litig., 270 F.3d 639, 643–

44 (8th Cir. 2001). In order to establish the application of the crime-fraud exception, “it

is the client’s intent to further a crime or fraud that must be shown.” Id. The record

reflects that Mr. Adams made extensive disclosures to Mr. Brever and Murry LLC of

information that is consistent with the information that the government now argues was


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hidden from them. The government has failed to meet its heavy burden to show a factual

basis to support a good faith belief by a reasonable person that the documents at issue

would reveal evidence to establish the crime fraud exception. Zolin, 491 U.S. at 572.

And the government has not even attempted to make the required, specific showing as to

each particular document, as required by In re BankAmerica Corp. Sec. Litig., 270 F.3d at

642. The government’s second-guessing of tax judgments is inadequate.

       The documents at issue do not “establish” that Mr. Adams was using the services

of Mr. Brever and Murry LLC in furtherance of a crime or fraud, nor do they support a

finding of “probable cause to believe that a crime or fraud had been perpetrated.” In re

Green Grand Jury Proceedings, 492 F.3d at 982-83. The Court should, thus, deny the

government’s request to compel the production of the seven Murry documents.15

II.    The Other Privilege Challenges Are Without Merit

       The government has challenged 65 documents on Mr. Adams’s privilege log that

fall into three other categories: (1) communications between Mr. Adams and Mr.

Monahan, and/or Josh Reilly (a paralegal at Adams Monahan LLP) that relate to Mr.

Adams’s and Mr. Monahan’s civil litigation matters (including the Mack and Rapello


15
   The government’s efforts to compel the in camera review of “the entire Murry file,”
Br. 3, must be rejected. First, this is yet another attempt by the government to compel
further production from a grand jury subpoena nearly two years after that subpoena was
issued, which is procedurally improper. See ECF 110 at 17 & n.11. Second, the
government must make “a specific showing that a particular document or communication
was made in furtherance of the client’s alleged crime or fraud”—it cannot “merely . . .
alleg[e] that a fraud occurred and assert[] that disclosure of any privileged
communications may help prove the fraud.” In re BankAmerica Corp. Sec. Litig., 270
F.3d at 642.


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lawsuit, the Fink lawsuit, and the malpractice claim against Nelson Mullins LLP); (2)

communications by Mr. Adams and Gregory Spitzer, Esq. of Paul Hastings LLP; and (3)

communications between Mr. Adams and attorneys at Nelson Mullins relating to the Fink

lawsuit. For the reasons set forth below, these communications are protected by Mr.

Adams’s attorney-client privilege and/or the attorney work product doctrine.

       A.     The Identified Communications with Mr. Monahan and Mr. Reilly Are
              Privileged

       Contrary to the government’s argument, Mr. Adams’s privilege assertions that fall

into this category16 are not based on the mere fact that he is an attorney. Instead, they are

based on the application of the common interest doctrine, under which otherwise

privileged communications maintain their privilege protections despite having been

shared with a third party, so long as that third party shares a common interest in the legal

matter. The government does not dispute that Mr. Adams and Mr. Monahan were

codefendants or potential co-plaintiffs in civil lawsuits, or that they were jointly

represented in those matters. But the government’s position is that Mr. Adams may not

validly assert the attorney-client privilege or the attorney work product protection over

any of his common interest communications with Mr. Monahan unless an attorney was

present on the communication. That is not the law.

       Under the common interest doctrine, the “joint representation privilege” applies




16
  The government challenges Mr. Adams’s assertions of privilege as to rows 16, 43, 63-
68, 71-73, and 76-91 of his privilege log (Dismissal Br. Ex. 1). These documents have
been submitted in camera as Ex. W.


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where “two or more clients . . . consult an attorney on matters of common interest.”

Shukh v. Seagate Tech., LLC, 872 F. Supp. 2d 851, 855 (D. Minn. 2012). In such a

circumstance, “the communications between the clients and the attorney are privileged as

against third parties.” Id.; see also John Morrell & Co. v. Local Union 304A of United

Food & Commercial Workers, AFL-CIO, 913 F.2d 544, 555–56 (8th Cir. 1990) (holding

that joint defense privilege applied to parties aligned on same side of lawsuit and that it is

“fundamental” that the privilege cannot be waived without the consent of all parties to the

defense). As with the attorney-client privilege, work product may be created or shared

with another party that has “common interests” without a waiver of the protection. See

United States v. Am. Tel. & Tel. Co., 642 F.2d 1285, 1300 (D.C. Cir. 1980). It is not

necessary for an attorney to be present on the communication; the common interest

doctrine may extend to communications between parties alone if “the underlying

substance of the communication [is] privileged in that it must involve either work product

or the solicitation or giving of legal advice.” Pucket v. Hot Springs Sch. Dist. No. 23-2,

239 F.R.D. 572, 584 (D.S.D. 2006).17

       The government advances a very narrow view of the work-product doctrine,

arguing that the doctrine only extends to the work product of an attorney on behalf of a

client. Gov. Br. 5-6. The work-product doctrine is not so limited. “‘[A] lawyer need not

be involved at all for the work product protection to take effect.’” Goff v. Harrah’s


17
  See also IBJ Whitehall Bank & Tr. Co. v. Cory & Assocs., Inc., 1999 WL 617842, at *6
(N.D. Ill. Aug. 12, 1999); Sapphire Sales Sols., LLC v. Best W. Int’l, Inc., 2013 WL
12284534, at *2 (D. Ariz. June 27, 2013).


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Operating Co., 240 F.R.D. 659, 660 (D. Nev. 2007) (concluding that “documents related

to ‘shopping’ for an attorney meet this standard” for work product protection) (quoting

Roger Park et al., Hornbook on Evidence Law § 8.09 (West 2d ed. 2004)). Federal Rule

of Civil Procedure 26(b)(3) extends the work product protection “to materials prepared in

anticipation of litigation or preparation for trial by or for a party or any representative

acting on his behalf.” Fed. R. Civ. P. 26(b)(3) advisory committee’s note (1970). Work

product protection also extends to efforts to gather information to facilitate provision of

legal advice. See, e.g., Tatum v. R.J. Reynolds Tobacco Co., 247 F.R.D. 488, 501

(M.D.N.C. 2008).

       The documents at issue reflect Mr. Adams and Mr. Monahan consulting with each

other about documents and information to transmit to the attorneys jointly representing

them.18 An April 30, 2012 email (DocID 00351976, Row 16),



           relating to their dispute with former business partners Mack and Rapello. In

camera Ex. W at 2.19 Similarly, DocID 00356085 (Row 43) is an email from Mr.


18
  Mr. Adams and Mr. Monahan also relied on their Adams Monahan LLP paralegal, Mr.
Reilly, to send them relevant documents to provide to their attorneys for the purpose of
obtaining legal advice and in anticipation of litigation. Mr. Reilly thus served as their
agent for these purposes, which does not vitiate the privilege. See In re Grand Jury
Investigation, 918 F.2d 374, 388 (3d Cir. 1990) (“The presence of a third party will not
vitiate the attorney-client privilege, if the third party is the attorney’s or client’s agent or
possesses a commonality of interest with the client”).
19
  Mr. Adams was a defendant in both the Mack and Rapello v. Adams, et al. and Fink v.
Adams, et al. lawsuits in his personal capacity (as was his wife, Mr. and Mrs. Monahan,
and Scio). Ex. 4 (Mack and Rapello complaint); Ex. 5 (Fink complaint).


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Monahan to Mr. Adams the day before the Fink complaint was filed, id. at 4,

                                                  . Two emails dated August 18, 2012

(Doc IDs 00053104 & 00053113, rows 63-64), reflect Mr. Adams requesting that Mr.

Reilly send him certain documents relevant to the Fink litigation to forward to attorneys

at Latham & Watkins who were replacing Nelson Mullins in that matter. Id. at 6, 8.

These materials were provided to Latham shortly thereafter. See in camera Ex. Z. The

documents that comprise rows 65-68, 71-73, and 76-89 reflect the gathering of

documents for use in the anticipated litigation against Nelson Mullins for legal

malpractice. Ex. W at 9-88. These documents were sent by Mr. Adams to attorneys for

legal advice, in connection with Mr. Adams’s efforts to seek counsel for this potential

claim. See id. at 22 (

                  ); in camera Ex. X at 19-21, 23-25 (documents sent to Mr. Spitzer,

described in greater detail below). Similarly, the final two documents (Doc IDs

00086172 & 00086276, rows 90-91) reflect the gathering of documents to send to

counsel at Bland Richter LLP, which was retained to represent Mr. Adams, Mr.

Monahan, and Scio with the potential legal malpractice claim against Nelson Mullins.

See in camera Ex. W at 89-107; in camera Exs. AA & BB (transmittals to Bland Richter

LLP). As communications about the gathering of information to provide to counsel, for

the purpose of legal advice and in anticipation of litigation, between individuals with a

common interest as parties on the same side of the anticipated litigation, these documents

are protected by the attorney-client privilege and work product doctrine.




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         B.    The Identified Communications with Mr. Spitzer Are Privileged

         Mr. Adams’s assertions of the attorney-client privilege over a small number of

communications with Gregory Spitzer, an attorney with Paul Hastings LLP, are valid.20

These communications reflect initial consultations with Mr. Spitzer in his capacity as an

attorney on legal matters where Mr. Adams was himself a defendant or potential plaintiff.

The attorney-client privilege protects communications in which an attorney is “engaged

or consulted by the client for the purpose of obtaining legal services or advice services or

advice that a lawyer may perform or give in his capacity as a lawyer.” Diversified Indus.,

Inc. v. Meredith, 572 F.2d 596, 602 (8th Cir. 1977) (emphasis added).21

         These communications reflect consultations between Mr. Adams and Mr. Spitzer

or other attorneys at Paul Hastings for the purpose of obtaining legal advice relating to

the Fink and Nelson Mullins litigation matters.




                                                                                    In

camera Ex. X at 1-17. The other two documents relate to the potential claim against



20
     These documents (rows 44-46, 69, and 74) have been submitted in camera as Ex. X.
21
   See also Banner v. City of Flint, 99 F. App’x 29, 36 (6th Cir. 2004) (“When a potential
client consults with an attorney, the consultation establishes a relationship akin to that of
an attorney and existing client, and the elements of the attorney-client privilege . . . are
satisfied.”); see also E. Epstein, Attorney-Client Privilege & the Work-Product Doctrine
1.III.E2.A.1 (6th 2017) (“The privilege protects initial consultations”).


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Nelson Mullins, a claim in which Mr. Adams, Mr. Monahan, and Scio were potential

plaintiffs.



                            Id at 19. Although Mr. Spitzer was ultimately not retained to

represent Mr. Adams in these matters, these communications are protected by the

attorney-client privilege and attorney work product doctrine.

         C.     The Identified Communications with Nelson Mullins Are Privileged

         The government, relying on a recent letter from Nelson Mullins,22 asserts that the

firm never represented Mr. Adams in his personal capacity in connection with the Fink

litigation, but this position is contradicted by the documents and the declaration by Mr.

Adams being filed contemporaneously herewith.23 The communications at issue are a

collection of emails between Mr. Adams, Nelson Mullins attorneys, and Scio directors

and officers relating to the Fink lawsuit.24 Non-privileged portions of these documents

reflect that Cory Manning of Nelson Mullins was negotiating with counsel for the Fink

plaintiffs on Mr. Adams’s behalf, and was offering consideration for the proposed

settlement from Mr. Adams personally. See Ex. 6. Indeed, Mr. Adams’s attached

declaration confirms that he participated in a telephone call with others and Mr. Manning



22
  Gov. Ex. K. As discussed above, Mr. Adams contemplated a malpractice action
against Nelson Mullins.
23
  The government has challenged rows 47-62 of Mr. Adams’s privilege log, which are
submitted in camera as Ex. Y.
24
     The Fink lawsuit was against, inter alia, Mr. Adams, Mr. Monahan, and Scio. Ex. 5.


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at the time of the Fink litigation in which Mr. Manning confirmed that he was

representing Mr. Adams’s interests in connection with the settlement negotiations. See

Adams Decl. ¶ 3-4. Thereafter, Mr. Manning prepared a memorandum which presented

strategies for the “Defendants”—not merely Scio—to defend against the Fink litigation.

In camera Ex. CC. And after Mr. Adams replaced Nelson Mullins with Latham &

Watkins in the Fink matter,



              . In camera Ex. DD. This evidence demonstrates that Mr. Adams’s

communications with Mr. Manning and the other attorneys at Nelson Mullins in

connection with the Fink matter are protected by the attorney-client privilege and the

attorney work product doctrine. See Diversified Indus., 572 F.2d at 601; In re Grand

Jury Subpoena Duces Tecum, 112 F.3d at 924.

III.   CONCLUSION

       For the reasons stated, the Court should deny the government’s motion.




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Dated: August 17, 2018            Respectfully submitted,



                                    /s/ Lance Wade

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